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                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                     SAN FRANCISCO DIVISION

                                   7

                                   8     IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 22-md-03047-YGR (PHK)
                                         ADDICTION/PERSONAL INJURY
                                   9     PRODUCTS LIABILITY LITIGATION                     ORDER RESOLVING JOINT LETTER
                                                                                           BRIEF REGARDING PI/SD
                                  10                                                       PLAINTIFFS RFPS 317, 325, 335, 344-
                                                                                           346, AND 357 AS TO META
                                  11
                                                                                           Re: Dkt. 1316
                                  12
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                                  14          This MDL has been referred to the undersigned for discovery purposes. See Dkt. 426.

                                  15   Now pending before the Court is a joint letter brief regarding a dispute between the Personal

                                  16   Injury/School District (“PI/SD”) Plaintiffs and Meta regarding the PI/SD Plaintiffs’ Request for

                                  17   Production of Documents (“RFP”) Nos. 317, 325, 335, 344-346, and 357. [Dkt. 1316 (redacted

                                  18   version); Dkt. 1317-1 (unredacted version)]. The Court finds the dispute suitable for resolution

                                  19   without oral argument. See Civil L.R. 7-1(b).

                                  20                                         LEGAL STANDARD

                                  21          Federal Rule of Civil Procedure 26(b)(1) delineates the scope of discovery in federal civil

                                  22   actions and provides that “[p]arties may obtain discovery regarding any nonprivileged matter that

                                  23   is relevant to any party's claim or defense and proportional to the needs of the case.” Information

                                  24   need not be admissible to be discoverable. Id. Relevancy for purposes of discovery is broadly

                                  25   defined to encompass “any matter that bears on, or that reasonably could lead to other matter that

                                  26   could bear on, any issue that is or may be in the case.” In re Williams-Sonoma, Inc., 947 F.3d 535,

                                  27   539 (9th Cir. 2020) (quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 350-51 (1978));

                                  28   see also In re Facebook, Inc. Consumer Privacy User Profile Litig., No. 18-MD-2843 VC (JSC),
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                                   1   2021 WL 10282215, at *4 (N.D. Cal. Sept. 29, 2021) (“Courts generally recognize that relevancy

                                   2   for purposes of discovery is broader than relevancy for purposes of trial.”) (alteration omitted).

                                   3          While the scope of relevance is broad, discovery is not unlimited. ATS Prods., Inc. v.

                                   4   Champion Fiberglass, Inc., 309 F.R.D. 527, 531 (N.D. Cal. 2015) (“Relevancy, for the purposes

                                   5   of discovery, is defined broadly, although it is not without ultimate and necessary boundaries.”).

                                   6   Information, even if relevant, must be “proportional to the needs of the case” to fall within the

                                   7   scope of permissible discovery. Fed. R. Civ. P. 26(b)(1). The 2015 amendments to Rule 26(b)(1)

                                   8   emphasize the need to impose reasonable limits on discovery through increased reliance on the

                                   9   common-sense concept of proportionality: “The objective is to guard against redundant or

                                  10   disproportionate discovery by giving the court authority to reduce the amount of discovery that

                                  11   may be directed to matters that are otherwise proper subjects of inquiry. The [proportionality

                                  12   requirement] is intended to encourage judges to be more aggressive in identifying and
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                                  13   discouraging discovery overuse.” Fed. R. Civ. P. 26 advisory committee’s note to 2015

                                  14   amendment. In evaluating the proportionality of a discovery request, a court should consider “the

                                  15   importance of the issues at stake in the action, the amount in controversy, the parties’ relative

                                  16   access to the information, the parties’ resources, the importance of the discovery in resolving the

                                  17   issues, and whether the burden or expense of the proposed discovery outweighs its likely benefit.”

                                  18   Fed. R. Civ. P. 26(b)(1).

                                  19          The party seeking discovery bears the burden of establishing that its request satisfies the

                                  20   relevancy requirements under Rule 26(b)(1). La. Pac. Corp. v. Money Mkt. 1 Inst. Inv. Dealer,

                                  21   285 F.R.D. 481, 485 (N.D. Cal. 2012). The resisting party, in turn, has the burden to show that the

                                  22   discovery should not be allowed. Id. The resisting party must specifically explain the reasons

                                  23   why the request at issue is objectionable and may not rely on boilerplate, conclusory, or

                                  24   speculative arguments. Id.; see also Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th Cir.

                                  25   1975) (“Under the liberal discovery principles of the Federal Rules defendants were required to

                                  26   carry a heavy burden of showing why discovery was denied.”).

                                  27          The Court has broad discretion and authority to manage discovery. U.S. Fidelity & Guar.

                                  28   Co. v. Lee Inv. LLC, 641 F.3d 1126, 1136 n.10 (9th Cir. 2011) (“District courts have wide latitude
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                                   1   in controlling discovery, and their rulings will not be overturned in the absence of a clear abuse of

                                   2   discretion.”); Laub v. U.S. Dep’t of Int., 342 F.3d 1080, 1093 (9th Cir. 2003). As part of its

                                   3   inherent discretion and authority, the Court has broad discretion in determining relevancy for

                                   4   discovery purposes. Surfvivor Media, Inc. v. Survivor Prods., 406 F.3d 625, 635 (9th Cir. 2005)

                                   5   (citing Hallett v. Morgan, 296 F.3d 732, 751 (9th Cir. 2002)). The Court’s discretion extends to

                                   6   crafting discovery orders that may expand, limit, or differ from the relief requested. See

                                   7   Crawford-El v. Britton, 523 U.S. 574, 598 (1998) (holding trial courts have “broad discretion to

                                   8   tailor discovery narrowly and to dictate the sequence of discovery”). For example, the Court may

                                   9   limit the scope of any discovery method if it determines that “the discovery sought is unreasonably

                                  10   cumulative or duplicative, or can be obtained from some other source that is more convenient, less

                                  11   burdensome, or less expensive.” Fed. R. Civ. P. 26(b)(2)(C)(i).

                                  12                                               ANALYSIS
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                                  13          The PI/SD Plaintiffs (hereinafter “Plaintiffs”) move to compel Meta to produce documents

                                  14   responsive to RFPs 317, 325, 335, 344-346, and 357. As an initial matter, Plaintiffs argue that the

                                  15   Parties negotiated search terms directed to each of these RFPs, but complain that Meta is

                                  16   restricting its production to responsive documents which not only hit on these agreed-upon search

                                  17   terms but also relate generally to Named Features, youth safety, parental controls, or other issues

                                  18   relevant to this case. [Dkt. 1316 at 8-9]. Meta argues that the Parties agreed on this scope of

                                  19   relevance for the production of documents responsive to these requests in meet and confers earlier

                                  20   this year, that these requests seek documents concerning matters which are not limited to issues

                                  21   relevant to this case, and that requiring Meta to produce all documents which hit on the agreed-

                                  22   upon search terms directed to only these requests (without also limiting them to documents which

                                  23   relate to the youth issues relevant to this case) is overbroad, beyond the scope of permissible

                                  24   relevance, and (given the case schedule) not proportional to the needs of the case. Id. at 11-12.

                                  25   Plaintiffs argue that the agreement as to the scope of relevance was directed to certain RFPs (listed

                                  26   in the correspondence), which according to Plaintiffs did not include these RFPs. Id. at 10. Meta

                                  27   responds that the correspondence resolving this relevance issue referred to the Plaintiffs’ “set 13”

                                  28   RFPs served in May 2024, and that Plaintiffs agreed to limiting production of documents
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                                   1   responsive to this “set 13” to the extent they “also discuss the youth safety issues relevant here.”

                                   2   Id.

                                   3          The Court turns to each RFP at issue below.

                                   4          RFP 317

                                   5          Plaintiffs limit RFP 317 to the extent they seek production of Meta founder and CEO Mark

                                   6   Zuckerberg’s internal comments regarding Meta’s 4Q17 performance, primarily Meta’s MSI

                                   7   (“Meaningful Social Interaction”) metric and its effects on daily usage of the Facebook Platform.

                                   8   Id. at 8; see Dkt. 1317-2 at 7. MSI allegedly increases user engagement on Facebook for all users,

                                   9   including teens. [Dkt. 1316 at 8]. The Parties previously agreed on a search term (“meaningful

                                  10   social interaction”) directed to this request. The issue is whether Meta should be required to

                                  11   search for and produce documents which hit on this search term alone, or whether Meta was

                                  12   correct to limit this request to documents which hit on this search term and also discuss issues
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                                  13   relating to youth safety issues relevant to this case.

                                  14          The Court finds that requiring Meta to search for all documents from all custodians which

                                  15   hit on this search term alone is not proportional to the needs of the case and would likely result in

                                  16   the production of a substantial number of documents unrelated to the youth safety issues in this

                                  17   case. There is, however, no real dispute that there is a scope of proper relevance for this request,

                                  18   and in the joint letter briefing, Plaintiffs focus on Mr. Zuckerberg’s internal statements only.

                                  19   Accordingly, the Court ORDERS Meta to promptly search those documents for which Mr.

                                  20   Zuckerberg is the custodian, using only the “meaningful social interaction” search term, limited

                                  21   only to documents dated within the time period from December 31, 2017 to February 28, 2018,

                                  22   and to process and produce with reasonably prompt diligence any non-privileged documents

                                  23   which result from that time-limited search. The Court finds that limiting this request to the one

                                  24   custodian at issue, for the limited time frame, is proportional, not unduly burdensome, and not

                                  25   overbroad. The Parties SHALL report on the progress of this production in the DMC Statement

                                  26   for the December 2024 DMC, and subsequently until complete.

                                  27          RFP 325

                                  28          RFP 325 seeks data from Meta’s Onavo product, specifically Onavo data comparing the
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                                   1   Facebook or Instagram platforms with the TikTok, Snapchat, or YouTube platforms from 2017

                                   2   forward. [Dkt. 1317-2 at 9]. Onavo is a company involved in data compression and analytics for

                                   3   mobile apps, which Facebook acquired in 2013. [Dkt. 1316 at 12]. According to Meta, the Parties

                                   4   negotiated RFPs 324 and 325 together because both sought documents relating to Onavo. Id.

                                   5   With regard to RFP 324, the Parties agreed to limit production to documents which discuss Onavo

                                   6   “if the documents ‘also discuss the youth safety issues relevant here.’” Id. For reasons not

                                   7   explained, that express agreement did not include RFP 325 even though the Parties apparently

                                   8   negotiated both RFPs together.

                                   9          The Court finds that Plaintiffs’ request to compel production of all documents which

                                  10   discuss Onavo since 2017, regardless of whether or not the documents discuss the youth safety

                                  11   issues in this case, is not proportional to the needs of the case. As both sides admit, Meta has been

                                  12   producing documents response to RFP 325 if those documents also discuss youth issues. Id. at 8.
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                                  13   Meta appears to be complying with the agreement as to scope of relevance upon which its

                                  14   opposition relies. Accordingly, Meta is ORDERED to promptly confirm in a supplemental

                                  15   response to RFP 325 that Meta has produced all non-privileged documents (found after using the

                                  16   agreed-upon search terms) responsive to RFP 325 in which Onavo is discussed in any way that

                                  17   relates to a Named Feature or other relevant issue in this case, such as youth safety, problematic

                                  18   use, or parental controls.

                                  19          Accordingly, the Court DENIES the motion to compel with regard to RFP 325.

                                  20          RFP 335

                                  21          RFP 335 seeks documents sufficient to show the results of all “backtests and/or uses of the

                                  22   Deltoid tool that measured the impact of product changes related to the Named Features on

                                  23   integrity metrics.” [Dkt. 1317-2 at 11]. Meta’s Deltoid tool is a product testing tool. [Dkt. 1316

                                  24   at 9]. Plaintiffs argue that Meta has limited its production to backtests, which are tests that take

                                  25   place after a product is launched, whereas the Deltoid tool is used to test metrics pre-launch. Id.

                                  26   Meta does not dispute (or even address) this pre-launch versus post-launch issue, arguing instead

                                  27   that not all uses of Deltoid are relevant to the Named Features. Id. at 12.

                                  28          Meta’s arguments are orthogonal to the dispute here. RFP 335, on its face, is expressly
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                                   1   limited to “the impact of product changes related to the Named Features on integrity metrics.”

                                   2   [Dkt. 1317-2 at 11]. There appears to be no dispute that Meta has failed to produce documents

                                   3   responsive to this request regarding uses of Deltoid for pre-launch tests.

                                   4          Accordingly, the Court ORDERS Meta to use the agreed-upon search term(s) for this RFP

                                   5   to search for and produce all non-privileged documents responsive to RFP 335 sufficient to show

                                   6   the results of all uses of the Deltoid tool that measured the impact of product changes related to the

                                   7   Named Features on integrity metrics. Meta SHALL run the agreed-upon search term(s) directed

                                   8   to RFP 335 to search the files of all custodians previously agreed upon with regard to this RFP, if

                                   9   any were previously agreed to. If no such custodians were previously agreed to for this RFP, then

                                  10   Meta SHALL run the search term(s) directed to this RFP to search all custodial and non-custodial

                                  11   files (though the Parties are free to reach agreement to limit the search to specific custodians, if

                                  12   they so desire).
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                                  13          Accordingly, the Court GRANTS the motion to compel with regard to RFP 335 as set

                                  14   forth herein.

                                  15          RFP 344

                                  16          RFP 344 seeks documents relating to “Civic Integrity’s development of the ‘Break the

                                  17   Glass’ measures” at Facebook. [Dkt. 1317-2 at 14]. Meta argues that the “Break the Glass”

                                  18   measures go beyond the issues relevant to this case and include (for example) changes made to

                                  19   Facebook in connection with the 2020 U.S. presidential election to mitigate the spread of voter

                                  20   disinformation. [Dkt. 1316 at 11]. As discussed above, Meta agreed to produce documents

                                  21   responsive to this request if such documents also discuss youth safety issues, Named Features, or

                                  22   other issues relevant to the claims in this case.

                                  23          The Court finds that Plaintiffs’ request to compel production of all documents which

                                  24   discuss “Break the Glass” measures, regardless of time frame and regardless of whether or not

                                  25   they discuss the youth safety issues or Named Features in this case, is not proportional to the

                                  26   needs of the case. Plaintiffs speculate that, if “Break the Glass” measures were implemented by

                                  27   Civic Integrity but never implemented for user well-being, such failure to implement could

                                  28   demonstrate that Meta could have taken steps to protect youth but chose not to. Id. at 9. The
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                                   1   defect in Plaintiffs’ argument is that RFP 344, on its face, only seeks documents “discussing Civic

                                   2   Integrity’s development of ‘Break the Glass’ measures,” and thus, the speculation as to the

                                   3   absence of “Break the Glass” measures in other contexts (such as user well-being) is not sought by

                                   4   this RFP. Also, Plaintiffs have other discovery procedures available by which to take discovery to

                                   5   prove the negative, that is, to establish whether “Break the Glass” measures were not implemented

                                   6   for user well-being, such as by serving requests for admissions, or by deposing knowledgeable

                                   7   witnesses.

                                   8          Accordingly, the Court DENIES the motion to compel with regard to RFP 344.

                                   9          RFPs 345 and 346

                                  10          RFPs 345 and 346 seek documents relating to the Minimum (or Minimal) Integrity

                                  11   Holdout population, a subset of users in a control group who do not have the full set of integrity

                                  12   rules. [Dkt. 1317-2 at 14-15]. Meta agreed to produce documents responsive to these requests if
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                                  13   such documents also discuss youth safety issues, Named Features, or other issues relevant to the

                                  14   claims in this case. [Dkt. 1316 at 11]. Indeed, Meta quotes correspondence from Plaintiffs setting

                                  15   forth this understanding. Id.

                                  16          The Court finds that the Plaintiffs’ request to compel production of all documents which

                                  17   discuss “Minimum Integrity Holdout” regardless of whether or not the documents discuss MIH in

                                  18   any way that relates to a Named Feature or other relevant issue (such as youth safety, problematic

                                  19   use, or parental controls) is not proportional to the needs of the case. Plaintiffs do not dispute the

                                  20   understanding set forth in their correspondence regarding the scope of relevance agreed upon

                                  21   between the Parties with regard to these RFPs. Meta, of course, is bound by that agreement as

                                  22   well and is ORDERED to promptly confirm in supplemental responses to RFPs 345 and 346 that

                                  23   Meta has produced all non-privileged documents (found after using the agreed-upon search terms)

                                  24   responsive to RFPs 345 and 346 in which MIH (Minimum/Minimal Integrity Holdouts) are

                                  25   discussed in any way that relates to a Named Feature or other relevant issue(s) in this case, such as

                                  26   youth safety, problematic use, or parental controls.

                                  27          Plaintiffs argue that it is “unclear” whether any of the Plaintiffs were “swept up” in the

                                  28   MIH population. Id. at 9. Meta’s portion of the joint letter brief does not address this issue.
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                                   1   Accordingly, Meta is ORDERED to identify by Bates number documents sufficient to indicate

                                   2   whether any Bellwether PI Plaintiff has ever been part of the MIH population (and to produce such

                                   3   documents if not already produced). If no Bellwether PI Plaintiff has ever been part of the MIH

                                   4   population, Meta SHALL serve supplemental responses to RFPs 345 and 346 stating this fact and

                                   5   stating that this is the reason there exist no documents responsive to these requests which would

                                   6   show a Bellwether PI Plaintiff was part of an MIH population.

                                   7          Accordingly, the Court GRANTS-IN-PART and DENIES-IN-PART the motion to

                                   8   compel with regard to RFPs 345 and 346.

                                   9           RFP 357

                                  10          RFP 357 seeks documents relating to Meta’s Net Ego Unit space on a user’s homefeed and

                                  11   its relationship to ads on a user’s homefeed. [Dkt. 1317-2 at 16]. Net Ego includes

                                  12   recommendations which are inserts into a user’s feed, apparently to increase engagement. [Dkt.
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                                  13   1316 at 9]. Plaintiffs argue that because Net Ego is intended to increase engagement for all users

                                  14   (which includes teens), then all documents relating to testing, launching, and/or terminating Net

                                  15   Ego Unit Space should be produced. Id. Meta relies on the agreement regarding scope of

                                  16   relevance discussed above and argues that all uses of Net Ego Unit Space are not relevant to the

                                  17   claims and issues in this case. Id. at 12.

                                  18          The Court finds that Plaintiffs’ request to compel production of all documents which

                                  19   discuss Net Ego Unit space, regardless of whether or not the documents discuss Net Ego Unit

                                  20   Space in any way that relates to a Named Feature or other relevant issues (such as youth safety,

                                  21   problematic use, or parental controls), is not proportional to the needs of the case. Plaintiffs argue

                                  22   that Meta appears to be refusing to produce any documents responsive to this RFP. Meta, of

                                  23   course, is bound by the agreement as to scope of relevance upon which its opposition relies.

                                  24   Accordingly, Meta is ORDERED to promptly confirm in a supplemental response to RFP 357

                                  25   that Meta has produced all non-privileged documents (found after using the agreed-upon search

                                  26   terms) responsive to RFP 357 in which Net Ego Unit Space is discussed in any way that relates to

                                  27   a Named Feature or other relevant issue in this case, such as youth safety, problematic use, or

                                  28   parental controls.
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                                   1                                          CONCLUSION

                                   2          For the reasons discussed herein, the Court GRANTS-IN-PART and DENIES-IN-PART

                                   3   the motion to compel with regard to RFPs 317, 325, 335, 344-346, and 357.

                                   4          This RESOLVES Dkt. 1316.

                                   5

                                   6   IT IS SO ORDERED.

                                   7   Dated: November 21, 2024

                                   8                                                 ______________________________________
                                                                                     PETER H. KANG
                                   9                                                 United States Magistrate Judge
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